                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


CONCORD MUSIC GROUP, INC.; CAPITOL
CMG, INC. D/B/A ARIOSE MUSIC, D/B/A
CAPITOL CMG GENESIS, D/B/A CAPITOL
CMG PARAGON, D/B/A GREG NELSON
MUSIC, D/B/A JUBILEE
COMMUNICATIONS, INC., D/B/A
MEADOWGREEN MUSIC COMPANY, D/B/A
MEAUX HITS, D/B/A MEAUX MERCY,
D/B/A RIVER OAKS MUSIC, D/B/A
SHEPHERD’S FOLD MUSIC, D/B/A
SPARROW SONG, D/B/A WORSHIP                Case No. ___________
TOGETHER MUSIC, D/B/A
WORSHIPTOGETHER.COM SONGS;
UNIVERSAL MUSIC CORP. D/B/A ALMO           COMPLAINT AND
MUSIC CORP., D/B/A CRITERION MUSIC         DEMAND FOR JURY TRIAL
CORP., D/B/A GRANITE MUSIC CORP.,
D/B/A IRVING MUSIC, INC., D/B/A
MICHAEL H. GOLDSEN, INC., D/B/A
UNIVERSAL – GEFFEN MUSIC, D/B/A
UNIVERSAL MUSIC WORKS; SONGS OF
UNIVERSAL, INC. D/B/A UNIVERSAL –
GEFFEN AGAIN MUSIC, D/B/A UNIVERSAL
TUNES; UNIVERSAL MUSIC – MGB NA
LLC D/B/A MULTISONGS, D/B/A
UNIVERSAL MUSIC – CAREERS, D/B/A
UNIVERSAL MUSIC – MGB SONGS;
POLYGRAM PUBLISHING, INC. D/B/A
UNIVERSAL – POLYGRAM
INTERNATIONAL TUNES, INC., D/B/A
UNIVERSAL – POLYGRAM
INTERNATIONAL PUBLISHING, INC., D/B/A
UNIVERSAL – SONGS OF POLYGRAM
INTERNATIONAL, INC.; UNIVERSAL
MUSIC – Z TUNES LLC D/B/A NEW SPRING
PUBLISHING, D/B/A UNIVERSAL MUSIC –
BRENTWOOD BENSON PUBLISHING,
D/B/A UNIVERSAL MUSIC – BRENTWOOD
BENSON SONGS, D/B/A UNIVERSAL
MUSIC – BRENTWOOD BENSON TUNES,
D/B/A UNIVERSAL MUSIC – Z MELODIES,




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D/B/A UNIVERSAL MUSIC – Z SONGS; and
ABKCO MUSIC, INC.,

            Plaintiffs,

            v.

ANTHROPIC PBC,

            Defendant.


                          ATTACHMENT TO CIVIL COVER SHEET

       The Plaintiffs in this matter are as follows:

    1. Concord Music Group, Inc.;

    2. Capitol CMG, Inc. d/b/a Ariose Music, d/b/a Capitol CMG Genesis, d/b/a Capitol CMG
       Paragon, d/b/a Greg Nelson Music, d/b/a Jubilee Communications, Inc., d/b/a
       Meadowgreen Music Company, d/b/a Meaux Hits, d/b/a Meaux Mercy, d/b/a River Oaks
       Music, d/b/a Shepherd’s Fold Music, d/b/a Sparrow Song, d/b/a Worship Together Music,
       d/b/a Worshiptogether.com Songs;

    3. Universal Music Corp. d/b/a Almo Music Corp., d/b/a Criterion Music Corp., d/b/a
       Granite Music Corp., d/b/a Irving Music, Inc., d/b/a Michael H. Goldsen, Inc., d/b/a
       Universal – Geffen Music, d/b/a Universal Music Works;

    4. Songs of Universal, Inc. d/b/a Universal – Geffen Again Music, d/b/a Universal Tunes;

    5. Universal Music – MGB NA LLC d/b/a Multisongs, d/b/a Universal Music – Careers,
       d/b/a Universal Music – MGB Songs;

    6. Polygram Publishing, Inc. d/b/a Universal – Polygram International Tunes, Inc., d/b/a
       Universal – Polygram International Publishing, Inc., d/b/a Universal – Songs of Polygram
       International Inc.;

    7. Universal Music – Z Tunes LLC d/b/a New Spring Publishing, d/b/a Universal Music –
       Brentwood Benson Publishing, d/b/a Universal Music – Brentwood Benson Songs, d/b/a
       Universal Music – Brentwood Benson Tunes, d/b/a Universal Music – Z Melodies, d/b/a
       Universal Music – Z Songs; and

    8. ABKCO Music, Inc.




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